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           EXHIBIT L
                    Case
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  Job Title Duane Reade Store Manager


Witness [?]                                                           No
Witness [?] (0)

Person with Knowledge [?]                                             No
Person with Knowledge [?] (0)

Parent or Guardian                                                    No
Parent or Guardian (0)

Person Involved with Investigation [?] (0)

Person Acting in Concert (If not already documented as an
additional Subject) [?]
Persons Acting In Concert (3)
  First Name JANYLL                                                      First Name
  Middle Name                                                            Middle Name
  Last Name                                                              Last Name DAVIS
  Employee ID                                                            Employee ID
  Job Title Cashier Duane Reade                                          Job Title Cashier Duane Reade

  First Name CIERA
  Middle Name C
  Last Name WASHINGTON
  Employee ID
  Job Title Shift Leader Duane Reade

Person of Interest [?] (0)

Victim [?]                                                            No
Victim (0)

Allegation(s)

 Subject of Allegation                               Allegation       Specific Type              Method               Allegation Status
             SPEARS (Subject Information)            Theft or Fraud   Unauthorized Discounts     POS - Price Modify
         PEREZ (Persons Acting In Concert)           Theft or Fraud   Unauthorized Discounts     POS - Price Modify
           DAVIS (Persons Acting In Concert)         Theft or Fraud   Unauthorized Discounts     POS - Price Modify
        WASHINGTON (Persons Acting In Concert)       Theft or Fraud   Unauthorized Discounts     POS - Price Modify

* Have You Finalized All Allegation Statuses?

Should Compliance be notified?

Subject Disposition
* Did you interview Yes                        * Was the Subject Suspended?                 No
the Subject?                                   * Final Subject Disposition                  Terminated
Date Interviewed         11/9/2015             Separation Date                              11/9/2015
Did You Have a           Yes                   If the Subject was interviewed, did the      Yes
Witness for the                                person who witnessed the interview also
Interview?                                     inform the employee of termination?
First Name of            Luis                  Was Civil Demand reviewed with the           Yes
Witness:                                       Employee?
Last Name of             Guerrero              * Significant Case? [?]                      No
Witness:
                                               * Employee Relations Consulted?              No
Job Title of
Witness:                                       * Subject Prosecuted?                        No

Verbal Admission?                              * Trespass Notice Issued?                    No
                                               (Print Form Below & Have Subject
Written Statement?                             Sign) [?]
* Subject was
Acting...


Investigation Detail
Investigative Questions
Were you assisted by any Corporate APS Personnel (Ex.                 No
Investigative Analyst)?


         CONFIDENTIAL                                                                                                   DR 000011
